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7
                          IN THE UNITED STATES DISTRICT COURT
8                       FOR THE WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
9
      DALE BROWN; BARBARA BROWN;
10
      BRIAN COMFORT; WENDY
11    COMFORT; PATRICK YATES; LINDA               NO.
      HEBISH; EARL IDDINGS; JOEL
12    KRAMER; ANGIE KRAMER;
      MICHAEL KOVAR; PAT                          COMPLAINT—CLASS ACTION
13    MCCULLOUGH; and WILLIAM
      ANSPACH,
14

15                                  Plaintiffs,

16           v.
17    MASON COUNTY; RANDY
      NEATHERLIN in his individual capacity
18
      and official capacity as a Mason County
19    Commissioner; and DAVID WINDOM in
      his individual capacity and official
20    capacity as Director of Mason County
      Community Services,
21

22                                Defendants,

23           and

24    GRUMP VENTURES, LLC; and its
      Principal RUSSELL SCOTT,
25

26                     Other Necessary Parties

                                                                 Bricklin & Newman, LLP
                                                                         Attorneys at Law
                                                                   1424 Fourth Avenue, Suite 500
     COMPLAINT - 1                                                       Seattle WA 98101
                                                                        Tel. (206) 264-8600
                                                                        Fax. (206) 264-9300
        Case 3:20-cv-05628-TSZ Document 1 Filed 06/29/20 Page 2 of 15



1
                             COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
2

3                                            I.       INRODUCTION

4           1.     In this action under 42 U.S.C. § 1983, Mason County, County Commissioner Randy

5    Neatherlin, and the Director of Mason County Community Services David Windom deprived
6    plaintiffs of rights, privileges, or immunities secured by the Constitution and federal laws.
7
     Plaintiffs were deprived of property rights without due process of law. Defendants actions were
8
     arbitrary, irrational, invidious and tainted by improper motive and violated plaintiffs’ substantive
9
     due process rights. Defendants acted under color of Washington State's Surface Mining Act, RCW
10

11   78.44.010 et seq. and under color of Mason County's local zoning ordinance.

12          2.     On June 30, 2017, Mason County and the named individual defendants gifted a

13   private company, Grump Ventures, LLC (“Grump”), with a valuable right to operate a 66.5–acre
14
     surface mine in a residential zone where mining is prohibited.
15
            3.     Mason County        and        the named individual defendants       disregarded the
16
     recommendation of Mason County planning staffer Michael MacSems, who had written a
17
     memorandum explaining that Grump only had a right to conduct mining operations on 1.87-acres.
18

19   The County and the named individual defendants then tried to cover up their unlawful and

20   unconstitutional act by hiding MacSem’s memorandum in County Commissioner Randy
21   Neatherlin’s basement, along with other documents relating to the unlawful gift.
22
            4.     While Grump’s application for the mining approval was pending before Mason
23
     County, Commissioner Neatherlin traveled to Ireland with the man who was shepherding Grump’s
24
     application through the local approval process: Jack Johnson of Peninsula Topsoil. Upon
25

26   Commissioner Neatherlin’s return from Ireland, he pressured Michael MacSems to withdraw his

                                                                                  Bricklin & Newman, LLP
                                                                                          Attorneys at Law
                                                                                    1424 Fourth Avenue, Suite 500
     COMPLAINT - 2                                                                        Seattle WA 98101
                                                                                         Tel. (206) 264-8600
                                                                                         Fax. (206) 264-9300
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1    objection to the mine and repeatedly badgered county planning staff, including Director Windom,
2    to approve the application.
3
             5.     Mason County’s approval of Grump’s mine lacked any appearance of fairness and
4
     deprived plaintiffs and members of the plaintiff class who live nearby of their use and enjoyment
5
     of their property.
6

7                                   II.    JURISDICTION AND VENUE

8            6.     Plaintiffs’ claims arise under the Constitution and laws of the United States and the

9    Constitution of laws of the State of Washington. This Court has jurisdiction over the claims arising
10
     under the Constitution and laws of the United States under 28 U.S.C. §§ 1331, 1343(a). This Court
11
     has supplemental jurisdiction over the claims arising under the Constitution and laws of the State
12
     of Washington under 28 U.S.C. § 1367.
13
             7.     This Court has the authority to grant declaratory and injunctive relief under 28
14

15   U.S.C. § 2201–2202 and Fed. R. Civ. P. 57 and 65. The federal rights asserted by plaintiffs are

16   enforceable under 42 U.S.C. § 1983.
17           8.     Venue is proper in this Court under 28 U.S.C. § 1391. All or a substantial part of
18
     the events or omissions giving rise to the claims herein occurred within this judicial district and
19
     defendants reside in this district.
20
                                               III.    PARTIES
21

22           9.     Plaintiffs Dale Brown and Barbara Brown, husband and wife, own property located

23   at 4680 NE North Shore Road, in Belfair. The Browns’ property is located adjacent to the proposed

24   Grump surface mine.
25

26

                                                                                   Bricklin & Newman, LLP
                                                                                          Attorneys at Law
                                                                                    1424 Fourth Avenue, Suite 500
     COMPLAINT - 3                                                                        Seattle WA 98101
                                                                                         Tel. (206) 264-8600
                                                                                         Fax. (206) 264-9300
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1            10.   Plaintiffs Brian Comfort and Wendy Comfort, husband and wife, own property
2    located at 190 NE Sundstrom Road, in Belfair. The Comforts’ property is located less than a mile
3
     from the proposed Grump surface mine.
4
             11.   Plaintiffs Patrick Yates and Linda Hebish, husband and wife, own property located
5
     at 171 N.E. Wagon Wheel Road, in Belfair. Mr. Yates’ and Ms. Hebish’s property is located less
6

7    than a mile from the proposed Grump surface mine.

8            12.   Plaintiff Earl Iddings owns property located at 4790, 4791, and 4821 NE Northshore

9    Road, in Belfair. Mr. Iddings’ properties are all located adjacent to the proposed Grump surface
10
     mine.
11
             13.   Plaintiffs Joel Kramer and Angie Kramer, husband and wife, own property located
12
     at 4731 NE North Shore Road, in Belfair. The Kramers’ property is located across the street from
13
     the proposed Grump surface mine.
14

15           14.   Plaintiff Michael Kovar, MD, owns property located at 4731 NE North Shore Road,

16   in Belfair. Mr. Kovar’s property is located across the street from the proposed Grump surface
17   mine.
18
             15.   Plaintiff Pat McCullough, PE, owns property located at 210 NE Cherokee Beach
19
     Road NE, in Belfair. Mr. McCullough’s property is located less than a mile from the proposed
20
     Grump surface mine.
21

22           16.   Plaintiff William Anspach owns property located at 4123 NE North Shore Road, in

23   Belfair. Mr. Anspach’s property is located less than a mile from the proposed Grump surface mine.

24           17.   Defendant Mason County is a county in the State of Washington with offices located
25   at 411 N 5th St., Shelton WA 98584.
26

                                                                                Bricklin & Newman, LLP
                                                                                        Attorneys at Law
                                                                                  1424 Fourth Avenue, Suite 500
     COMPLAINT - 4                                                                      Seattle WA 98101
                                                                                       Tel. (206) 264-8600
                                                                                       Fax. (206) 264-9300
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1             18.   Defendant Randy Neatherlin is a member of Mason County’s Board of County
2    Commissioners. Commissioner Neatherlin is sued in individual capacity and, in the alternative, in
3
     his official capacity.
4
              19.   Defendant David Windom is the Director of Mason County Community Services.
5
     Director Windom is sued is sued in individual capacity and, in the alternative, in his official
6

7    capacity.

8             20.   Defendant Grump Ventures, LLC is a Washington corporation and the recipient of

9    the county approval at issue in this matter. Grump Ventures, LLC is joined as a necessary party
10
     under Fed. R. Civ. P. 19.
11
              21.   Defendant Russell Scott is the sole governor of Grump Ventures, LLC and its
12
     registered agent. Russell Scott is joined as a necessary party under Fed. R. Civ. P. 19.
13
                                  IV.     CLASS ACTION ALLEGATIONS
14

15            22.   Plaintiffs Dale Brown, Barbara Brown, Brian Comfort, Wendy Comfort, Patrick

16   Yates, Linda Hebish, Earl Iddings, Joel Kramer, Angie Kramer, Michael Kovar, Pat McCullough,
17   and William Anspach bring this class action on behalf of a class of property owners in Mason
18
     County who are injured by defendants’ unlawful and unconstitutional acts. The class consists of
19
     those property owners in Mason County who will be deprived of the use and enjoyment of their
20
     property, have suffered and will suffer significant loss in the value of their property, are faced with
21

22   significant health threats from air pollution, or have had to spend money and time fighting the

23   unlawful mine. There are several hundred property owners who will qualify as members of the

24   class.
25            23.   The named plaintiffs are adequate representatives of the class because the claims of
26
     the named plaintiffs are typical of the claims of the class in that the named plaintiffs and class
                                                                                     Bricklin & Newman, LLP
                                                                                            Attorneys at Law
                                                                                      1424 Fourth Avenue, Suite 500
     COMPLAINT - 5                                                                          Seattle WA 98101
                                                                                           Tel. (206) 264-8600
                                                                                           Fax. (206) 264-9300
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1    members have suffered the same deprivation of federal rights under color of state law, caused by
2    the same acts of defendants. The class representatives are highly motivated to prosecute this
3
     action.
4
               24.   The questions of law and fact to be determined in this case are common to the named
5
     plaintiffs and the class members. The claims of the named plaintiffs are typical of the claims of
6

7    the class. The relief sought is common to the named plaintiffs and class members.

8              25.   The named plaintiffs and their counsel will fairly and adequately protect the

9    interests of the class they represent. Named plaintiffs have no interest adverse to or in conflict
10
     with those of other class members.
11
               26.   The proposed class action is appropriate under the second and third of the three
12
     types of class action set out at Fed. R. Civ. P. 23(b)(1–3).
13
               27.   Under Fed. R. Civ. P. 23(b)(2), defendants acted on grounds that apply generally to
14

15   the class, so that final injunctive relief or corresponding declaratory relief is appropriate respecting

16   the class as a whole.
17             28.   Under Fed. R. Civ. P. 23(b)(3), questions of law and fact relating to the defendants’
18
     liability are the same for all class members and predominate over any questions affecting only
19
     individual members (such as the amount of damages suffered by each class member). A class
20
     action is superior to other available methods for fairly and efficiently adjudicating the controversy.
21

22             29.   In support of the findings required by Fed. R. Civ. P. 23(b)(3), plaintiffs allege that

23   (A) class members have communicated no interest in individually controlling the prosecution of

24   separate actions; (B) except for a tangentially-related (and already resolved) case under
25   Washington’s Public Records Act, no class member has commenced litigation concerning this
26
     controversy; (C) it is desirable to concentrate the litigation of the claims of plaintiffs and class
                                                                                     Bricklin & Newman, LLP
                                                                                             Attorneys at Law
                                                                                       1424 Fourth Avenue, Suite 500
     COMPLAINT - 6                                                                           Seattle WA 98101
                                                                                            Tel. (206) 264-8600
                                                                                            Fax. (206) 264-9300
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1    members in this forum; and (D) there are not likely to be any unusual difficulties in managing this
2    class action.
3
                                                 V.      FACTS
4
            30.      Grump Ventures, LLC owns property in Mason County. Grump seeks to use its
5
     property for surface mining. Grump’s property is zoned for rural residential use.
6

7           31.      On June 26, 1996, Mason County adopted a zoning ordinance that prohibits surface

8    mines in the rural residential zoning district. The zoning ordinance prohibits surface mining on

9    the parcels owned by Grump, which are the subject of this lawsuit.
10
            32.      On February 17, 2017, Grump applied to Mason County for approval of a 66.5-acre
11
     surface mine extending over multiple parcels, all of them within the rural residential zoning district
12
     where surface mining is illegal. The sought-after approval was the “Form SM-6” county approval
13
     of surface mining, a form provided to the county by the State of Washington pursuant to
14

15   Washington’s Surface Mining Act, RCW 78.44.010 et seq.

16          33.      Grump and its principal, Russelwl Scott, were assisted in the application by Mr.
17   Scott’s business associate, Jack Johnson, the principal of Peninsula Topsoil.
18
            34.      Because surface mining was illegal, Grump, Scott and Johnson sought to obtain
19
     approval for surface mining as the continuation of a surface mining operation that pre-dated the
20
     1996 zoning ordinance (i.e., as a “grandfathered” use, in the vernacular). On March 15, 2017,
21

22   county planning staffer Michael MacSems wrote a memo to defendant David Windom, notifying

23   Mr. Windom that any historic mining on the parcels was limited to a few small contiguous parcels

24   totaling 1.87 acres in area. Mr. MacSems’ memo informed Mr. Windom that there was no
25   evidence of any mining beyond those 1.87 acres. Because of this, Mr. MacSems recommended
26

                                                                                    Bricklin & Newman, LLP
                                                                                            Attorneys at Law
                                                                                      1424 Fourth Avenue, Suite 500
     COMPLAINT - 7                                                                          Seattle WA 98101
                                                                                           Tel. (206) 264-8600
                                                                                           Fax. (206) 264-9300
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1    that Mr. Windom not sign the Form SM-6 unless the acreage was changed from 66.5 acres to 1.87
2    acres.
3
              35.   In rendering a decision as to whether to grant the county’s approval for Grump’s
4
     surface mine, defendants were required to follow articulable standards that constrained their
5
     decision-making process, including whether or not the proposed mining use complied with the
6

7    county’s zoning ordinance and whether or not “development occurs in such a way that it protects

8    private property rights and existing land uses while also protecting natural resources, promoting

9    economic growth and assuring the compatibility of proposed land uses with existing ones.” MCC
10
     17.01.010. In spite of Mr. MacSem’s research showing that the proposed mine did not comply
11
     with the county’s zoning ordinance, defendants irrationally and invidiously granted approval for
12
     the mine.
13
              36.   Plaintiffs were and are entitled to have the county’s land use decision on Grump’s
14

15   application for mining approval be based upon whether the proposed mine was an allowed use in

16   the rural residential zone, whether it would protect private property rights and existing land uses,
17   and whether it would be compatible with existing land uses, as required under the zoning
18
     ordinance adopted and promulgated by the county.
19
              37.   In approving Grump’s 66.5-acre surface mine, Mason County and its named
20
     lawmaker (Commissioner Neatherlin) and employee (Director Windom) violated the Mason
21

22   County zoning code, which prohibits surface mines in residential zones. Through their official

23   positions and with authority conferred by the county, Defendants Neatherlin and Windom acted

24   with deliberate indifference to this prohibition and the rights of those affected by their decision.
25            38.   In effect, through Defendant Neatherlin’s pressure on county staff and Defendant
26
     Windom’s final decision to approve the Form SM-6, the county established a policy that Grump’s
                                                                                    Bricklin & Newman, LLP
                                                                                           Attorneys at Law
                                                                                     1424 Fourth Avenue, Suite 500
     COMPLAINT - 8                                                                         Seattle WA 98101
                                                                                          Tel. (206) 264-8600
                                                                                          Fax. (206) 264-9300
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1    surface mine should be exempt from the requirements of the county code, which would otherwise
2    prohibit such mines in residential zones. To date, Mason County has declined to petition the local
3
     hearing examiner to revoke the Form SM-6 pursuant to SMC 15.13.075, effectively ratifying this
4
     policy of exempting Grump’s mine from the requirements and prohibitions of the local zoning
5
     code.
6

7            39.    From April 30, 2017 to May 2, 2017, defendant Randy Neatherlin, a member of the

8    county’s Board of County Commissioners, took a trip to Ireland in the company of Jack Johnson.

9            40.    Upon Commissioner Neatherlin’s return from Ireland, he repeatedly pressured
10
     Director Windom, Mr. MacSems, and county staff to approve the Form SM-6. According to Mr.
11
     MacSems, Commissioner Neatherlin had never before advocated in favor of approval of a county
12
     application.
13
             41.    Director Windom and Mr. MacSems serve at the pleasure of Commissioner
14

15   Neatherlin and the other county commissioners.

16           42.    Upon his return from Ireland, Commissioner Neatherlin became a persistent
17   advocate for Grump’s mining application, telling county staff at least five times “how do we get
18
     to yes” or “get me to yes” on Grump’s proposed 66.5 acre surface mine. Commissioner Neatherlin
19
     told one neighbor, Bruce Carter, that he (Neatherlin) supported the Grump application because
20
     Jack Johnson of Peninsula Topsoil asked him to support it.
21

22           43.    Acting as a proponent of the proposed mining operation, Commissioner Neatherlin

23   brought an aerial photo taken in 1963, given to him by Grump’s agent, Jack Johnson, into the

24   county offices and asserted to Director Windom and Mr. MacSems that it showed historical
25   mining activity beyond the 1.87 acres. Upon information and belief, this assertion was false. The
26
     aerial did not show evidence of mining on the property. It showed downed trees from a windstorm.
                                                                                 Bricklin & Newman, LLP
                                                                                        Attorneys at Law
                                                                                  1424 Fourth Avenue, Suite 500
     COMPLAINT - 9                                                                      Seattle WA 98101
                                                                                       Tel. (206) 264-8600
                                                                                       Fax. (206) 264-9300
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1            44.    Grump’s and Neatherlin’s deceptive misrepresentations of the 1963 aerial photo and
2    the extent of historical mining activity improperly caused the county planning staff to sign the
3
     Form SM-6 approval.
4
             45.    On June 30, 2017, Director Windom signed the Form SM-6, approving Grump’s
5
     66.5-acre surface mine and exempting the mine from the requirements of the zoning ordinance,
6

7    which prohibits surface mines in residential zones.

8            46.    Director Windom has final decision-making authority for the county.

9            47.    Director Windom derives his final decision-making authority from the county
10
     legislature.
11
             48.    Mason County has a commission form of county government under Article 11,
12
     section 5 of the Washington Constitution.
13
             49.    In the commission form of county government, the county’s governing body
14

15   consists of a three-member board of commissioners, elected on a partisan basis, who serve as the

16   county's legislative body and also perform executive functions.
17           50.    Commissioner Neatherlin is member of the county’s legislature. In that role, he
18
     directs the policy and custom of the county and his acts and edicts can fairly be said to the represent
19
     official policy of the county.
20
             51.    After the Form SM-6 was signed, Commissioner Neatherlin removed the aerial
21

22   image and Mr. MacSems’ March 15, 2017 memorandum from the county offices and hid them in

23   his garage. Because Commissioner Neatherlin absconded with these documents, the county failed

24   to produce them in response to a records request, resulting in a costly settlement in a subsequent
25   lawsuit under Washington’s Public Records Act.
26

                                                                                     Bricklin & Newman, LLP
                                                                                            Attorneys at Law
                                                                                      1424 Fourth Avenue, Suite 500
     COMPLAINT - 10                                                                         Seattle WA 98101
                                                                                           Tel. (206) 264-8600
                                                                                           Fax. (206) 264-9300
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1           52.    The county gave no notice of its Form SM-6 approval of the Grump surface mine
2    until 2018, when the county issued a “mitigated determination of nonsignificance” pursuant to
3
     Washington’s State Environmental Policy Act (“SEPA”).
4
            53.    By approving Grump’s surface mine through the Form SM-6, even though Grump
5
     did not qualify for that approval, the county gifted a property right to Grump, i.e., the right to
6

7    develop a valuable mine in a zone where surface mines are prohibited.

8           54.    Grump’s proposed mine would introduce a massive industrial surface mine into a

9    peaceful residential area. Grump plans to remove more than 6 million cubic yards of material from
10
     the currently wooded site. Plaintiffs currently enjoy quiet natural surroundings on and around their
11
     properties. If the mine were to be developed and operated, it would destroy the current bucolic,
12
     rural environment and replace it with loud noise and vibration from excavating, material
13
     processing (including rock crushing), air pollution, and heavy traffic of approximately 100 dump
14

15   trucks and trailers per day for many years.

16          55.    As a result of the county’s approval of Grump’s surface mine, plaintiffs will be
17   deprived of the use and enjoyment of their property.
18
            56.    As a result of the county’s approval of Grump’s surface mine, plaintiffs have
19
     suffered and will suffer significant loss in the value of their property.
20
            57.    As a result of the county’s approval of Grump’s surface mine, plaintiffs are faced
21

22   with significant health threats from air pollution.

23          58.    As a result of the county’s approval of Grump’s surface mine, plaintiffs have had to

24   spend money and time fighting the unlawful mine.
25

26

                                                                                  Bricklin & Newman, LLP
                                                                                          Attorneys at Law
                                                                                    1424 Fourth Avenue, Suite 500
     COMPLAINT - 11                                                                       Seattle WA 98101
                                                                                         Tel. (206) 264-8600
                                                                                         Fax. (206) 264-9300
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1                                        VI.     CLAIMS FOR RELIEF
2                                              FIRST CLAIM FOR RELIEF
3
                     Violation of United States Constitution Amendment XIV (Procedural Due
4                                                     Process)

5           59.      Plaintiffs restate and incorporate by reference all preceding paragraphs.
6           60.      A person’s ability to use and enjoy land they own free from unreasonable
7
     interference is a property right.
8
            61.      Plaintiffs have a protected property interest in the use and enjoyment of their real
9
     property.
10

11          62.      Defendant Neatherlin’s actions to pressure county staff and Defendant Windom to

12   approve Grump’s surface mine represents an exercise of official authority conferred by Mason

13   County. The decision by Defendant Windom represents a deliberate choice to approve the Gump
14
     mine, with deliberate indifference to the requirements and prohibitions of the Mason County
15
     Code—specifically, the prohibition on surface mines in residential zones.
16
            63.      Defendants actions denied plaintiffs their rights to use and enjoy their property
17
     without the process that was due under the circumstances.
18

19          64.      Defendants, acting under color of state law, violated plaintiffs’ federal constitutional

20   right to procedural due process under the Fourteenth Amendment of the United States
21   Constitution.
22
                                            SECOND CLAIM FOR RELIEF
23
                     Violation of United States Constitution Amendment XIV (Substantive Due
24                                                    Process)
25          65.      Plaintiffs restate and incorporate by reference all preceding paragraphs.
26

                                                                                      Bricklin & Newman, LLP
                                                                                             Attorneys at Law
                                                                                       1424 Fourth Avenue, Suite 500
     COMPLAINT - 12                                                                          Seattle WA 98101
                                                                                            Tel. (206) 264-8600
                                                                                            Fax. (206) 264-9300
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1           66.      Defendants’ approval of Grump’s surface was arbitrary, irrational, invidious and
2    tainted by improper motive.
3
            67.      Defendant Neatherlin’s actions to pressure county staff and Defendant Windom to
4
     approve Grump’s surface mine represents an exercise of official authority conferred by Mason
5
     County. The decision by Defendant Windom represents a deliberate choice to approve the Gump
6

7    mine, with deliberate indifference to the requirements and prohibitions of the Mason County

8    Code—specifically, the prohibition on surface mines in residential zones.

9           68.      Plaintiffs’ property is in the rural residential zone and their use and enjoyment of
10
     their property depends upon their neighbors being restricted to uses allowed in the rural residential
11
     zone, as set out in the county’s zoning regulations.
12
            69.      Plaintiffs have a protectable property interest under the county’s zoning regulations
13
     in the fair and just administration of those regulations so that decisions made by the county assure
14

15   that development protects property rights and existing land uses and assure the compatibility of

16   proposed land uses with existing land uses.
17          70.      Defendants, acting under color of state law, violated plaintiffs’ federal constitutional
18
     right to substantive due process under the Fourteenth Amendment of the United States
19
     Constitution.
20
                                             THIRD CLAIM FOR RELIEF
21

22                   Violation of Washington Constitution, Article VIII: Unconstitutional Gift

23          71.      Plaintiffs restate and incorporate by reference all preceding paragraphs.

24          72.      Washington’s Constitution prohibits Mason County from giving “any . . . property
25   . . . to or in aid of any individual, association, company or corporation[.]” Wash. Const. art. VIII,
26
     § 7.
                                                                                      Bricklin & Newman, LLP
                                                                                             Attorneys at Law
                                                                                       1424 Fourth Avenue, Suite 500
     COMPLAINT - 13                                                                          Seattle WA 98101
                                                                                            Tel. (206) 264-8600
                                                                                            Fax. (206) 264-9300
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1            73.    The county’s approval of Grump’s surface mine in a residential zone where no
2    mining is allowed is a gift of a valuable property right to Grump.
3
             74.    Mason County’s gift of a valuable property right to Grump violates the prohibition
4
     on gifts of property set out at article VIII, § 7 of the Washington Constitution.
5
             75.    Mason County unconstitutionally gifted valuable property rights to Grump by
6

7    approving Grump’s proposed 66.5-acre surface mine, even though Grump did not qualify for the

8    approval and mining was and is prohibited in the rural residential zone where the proposed mine

9    is located.
10
                                        VII.     PRAYER FOR RELIEF
11
            Plaintiffs respectfully request that the Court grant the following relief:
12
            A.      Order, declare, and adjudge that the defendants have violated the United States
13
     Constitution as set forth above;
14

15          B.      Order, declare, and adjudge that the defendants have violated Washington’s

16   Constitution as set forth above;
17          C.      Vacate and set aside the Form SM-6;
18
            D.      Issue a preliminary and final order enjoining the defendants from further violations
19
     of the United Sates Constitution and Washington Constitution;
20
            E.      Pay plaintiffs and the plaintiff class members the damages they incur as a result of
21

22   the defendants’ unconstitutional conduct;

23          F.      Certify the plaintiff class of all property owners who are being adversely impacted

24   and will continue to be adversely impacted by Mason County’s grant of the SM-6 approval for
25   Grump’s surface mining project.
26

                                                                                         Bricklin & Newman, LLP
                                                                                                Attorneys at Law
                                                                                          1424 Fourth Avenue, Suite 500
      COMPLAINT - 14                                                                            Seattle WA 98101
                                                                                               Tel. (206) 264-8600
                                                                                               Fax. (206) 264-9300
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1           G.        Award the plaintiffs their costs, litigation expenses, expert witness fees, and
2    reasonable attorneys’ fees associated with this litigation pursuant to 42 U.S.C. 1988 and all other
3
     applicable authorities;
4
            H.        Grant plaintiffs and the plaintiff class any such further relief as may be just, proper,
5
     and equitable.
6

7           Dated this 29th day of June, 2020.

8                                                    Respectfully submitted by:

9                                                    BRICKLIN & NEWMAN, LLP
10
                                             By:     /s/ David A. Bricklin
11                                                   /s/ Bryan Telegin
                                                     /s/ Zachary K. Griefen
12                                                   David A. Bricklin, WSBA No. 7583
                                                     Bryan Telegin, WSBA No. 46686
13                                                   Zachary K. Griefen, WSBA No. 48608
                                                     1424 Fourth Avenue, Suite 500
14
                                                     Seattle, WA 98101
15                                                   Telephone: 206-264-8600
                                                     Facsimile: 206-264-9300
16                                                   E-mail: bricklin@bnd-law.com
                                                     E-mail: telegin@bnd-law.com
17                                                   E-mail: griefen@bnd-law.com
18
                                                     Attorneys for Plaintiffs
19

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                                                                                       Bricklin & Newman, LLP
                                                                                              Attorneys at Law
                                                                                        1424 Fourth Avenue, Suite 500
      COMPLAINT - 15                                                                          Seattle WA 98101
                                                                                             Tel. (206) 264-8600
                                                                                             Fax. (206) 264-9300
